








NO. 07-07-0340-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



JANUARY 2, 2008

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IN THE MATTER OF P.Z.



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FROM THE 364th DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2007-762,308; HONORABLE MELISSA JO McNAMARA, PRESIDING

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ORDER DISMISSING APPEAL

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Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

Appellant, by and through his attorney, has filed a motion to dismiss. Without passing on the merits of the case, we grant the motion pursuant to Texas Rule of Appellate Procedure 42.1(a)(1)(2) and dismiss the appeal. &nbsp;Having dismissed the appeal at appellant’s request, no motion for rehearing will be entertained, and our mandate will issue forthwith.





Brian Quinn

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice


